           Case 1:22-cv-02299-LGS Document 59 Filed 07/05/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                            Plaintiff,        :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :        ORDER
 SAULREALISM LLC, et al.,                                     :
                                            Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by Order dated April 26, 2022, the Court reserved decision on Plaintiff’s

motion for a preliminary injunction pending review of an independent expert’s report.

        WHEREAS, on May 10, 2022, Terry Patterson was appointed to serve as an independent

expert pursuant to Federal Rule of Evidence 706.

        WHEREAS, on June 7, 2022, Mr. Patterson’s initial report was filed.

        WHEREAS, on June 14, 2022, the parties filed letters proposing additional questions for

Mr. Patterson to address in a supplemental report.

        WHEREAS, on June 30, 2022, Mr. Patterson’s supplemental report was filed. It is hereby

        ORDERED that by July 12, 2022, the parties shall simultaneously file any closing

statements in separate letters not to exceed five (5) pages.

Dated: July 5, 2022
       New York, New York
